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                      UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA
______________________________________________________________________________
                                    :
L A APPAREL, INC.,                  :
a/k/a LA APPAREL, INC.,             :
                                    :
                        Petitioner, :     Case No.:
       v.                           :
                                    :
STRAIGHT A COMPANY, LP,             :
                                    :
                        Respondent. :
______________________________________________________________________________




             MEMORANDUM OF LAW IN SUPPORT OF PETITION
                 TO CONFIRM ARBITRATION AWARD




                                    Respectfully submitted,

                                    GILDA L. KRAMER & ASSOCIATES, LLC
                                    822 Montgomery Avenue, Suite 314
                                    Narberth, PA 19072
                                    215-732-4055
                                    gkramer@gildakramer.com
                                    Attorney for L A Apparel, Inc. a/k/a LA Apparel, Inc.
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       This Memorandum of Law is submitted on behalf of Petitioner, L A Apparel, Inc., also

known as LA Apparel, Inc. (hereinafter

    Arbitration Award dated January 5, 2021, as amended by the Modification of Award dated

February 2, 2021


       For the reasons set forth herein, and in the supporting Petition, it is respectfully submitted

that the Arbitration Award should be confirmed, and that Petitioner should have Judgment against

Respondent, Straight A Company, LP                       in accordance with the Arbitration Award.


                                     STATEMENT OF FACTS


       This Court is respectfully referred to the accompanying Petition, and the Exhibits annexed

thereto, for a full recitation of the facts involved herein. Nonetheless, briefly, this Petition arises

from an Award of the Arbitrator in proceedings commenced before the American Arbitration

Association,                                                                     Claimant, against LA

Apparel, Inc., Respondent,                   Arbitration Association Case No. 01-19-0004-6511.



        2.                                   of Claim is annexed to the Petition as Exhibit 3.


       Straight A and LA are, and always have been, the sole Members of a firm called Concorde



               Interests. The arbitration concerned a dispute as to the allocation of C

       amongst Straight A and LA for 2018, 2019 and beyond, which allocation was referenced

in specific provisions of                    Operating Agreement (Exhibit 1 to the Petition).
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       Three days of hearings were held in the arbitration, with three witnesses and some forty-

one documentary exhibits presented by both parties, along with Post-Hearing Briefs. On January



                                                         copy of which is annexed to the Petition in

Exhibit 4, in which he cited not only the testimony of the witnesses, but also the exhibits

introduced at the hearings, as well as relevant and applicable case law.


       As set forth in Point III infra, the Arbitrator ruled in favor of LA, concludi

                                                        for the past 20 years should continue to be

                                                                                for 2018 and beyond.

Moreover, the Arbitrator ordered and directed, inter alia,

    2019 profits accordingly.


       Thereafter, there was a minor correction of the Final Award concerning the arbitration fees.

As a result of the Arbitrator having been unaware of prior payments made by LA for arbitration

fees, the Arbitrator incorrectly computed the                                due for the fees to the

American Arbitration Association and the compensation to the Arbitrator. Thus, after having been

made aware of this miscalculation, the Arbitrator issued his Modification of the Award, dated

February 2, 2021                         to correct the payments previously set forth on page 11 of

the Final Award. This correction did not, and does not, alter the substance of the Arbitration

Award. The original Final Award along with the Modification are hereinafter collectively referred

                   and are both part of Exhibit 4.
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          In accordance with the Rules of the American Arbitration Association (Rule R-52(c)):




          Therefore, Petitioner, LA, herein moves for an Order and Judgment granting the following

relief:

                 (a)    confirming the Arbitration Award, and directing that Judgment be entered

thereon;

                 (b)    directing Respondent, Straight A, to immediately issue payments, from



   Concorde Apparel Company, L.L.C. in the sum of $505,489.50 for 2018, and the sum of

$527,585.50 for 2019,

              with the Arbitration Award;


                 (c)    directing Respondent, Straight A, to issue payments from Concorde



            Apparel Company, L.L.C. for 2020, and each year thereafter, to which LA is entitled




                 (d)    granting such other and further relief as this Court deems just and proper,

together with the costs and disbursements of this proceeding.
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                                              POINT I

                                         JURISDICTION


       The instant Petition is brought pursuant to Sections 6 and 9 of the Federal Arbitration Act,

(9 U.S.C. §§ 6 and 9).


       As set forth in the Petition, the Operating Agreement involved in this matter (Exhibit 1)

contains an arbitration provision in Section 13.15. Section 13.15 does not specify a court in which

a petition to confirm an arbitration award should be filed. However, since the arbitration was

commenced by Straight A pursuant to the Rules of the American Arbitration Association, Rule R-



     shall be deemed to have consented that judgment upon the arbitration award may be entered




       Section 9 of the Federal Arbitration Act (9 U.S.C. §

      is specified in the agreement of the parties, then such application may be made to the United

                                                                                      the situs of the

arbitration was in Scranton, Pennsylvania, as per the Stipulation of the Parties and the Order of the

Arbitrator dated September 20, 2020, the U.S. District Court for the Middle District of

Pennsylvania is the proper federal court for this Petition to be filed. In addition, this Court has the

power and right to confirm the Arbitration Award at issue herein through this summary proceeding.

Teamsters Local 177 v. United Parcel Service, 966 F.3d 245 (3d Cir. 2020).


       Furthermore, this Court has diversity jurisdiction over the parties. Petitioner is a New York

corporation, with offices at 55 West 39th Street, New York, NY, and Respondent is a Pennsylvania
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        partnership, with offices at 300 Brook Street, Scranton, PA. Upon information and belief,

none of the                             are residents of New York. The matter at issue also exceeds

the sum of $75,000 exclusive of interest and costs, as the Respondent had sought the sum of

$745,133.52 in the arbitration, and pursuant to the Arbitration Award, Petitioner is entitled to at

least $1,033,075.00.


       In addition, this matter involves interstate commerce. As set forth in 9 U.S.C. §




              and enforceable, save upon such grounds as exist at law or in equity for the revocation

                      And as stated by the United States Supreme Court in Citizens Bank v. Alafabco,

Inc., 539 U.S. 52, 56, 123 S.Ct. 2037, 156 L.Ed.2d 46 (2003):


       We have
                                                                           words of art that

                  [cite omitted]. B

                   it is perfectly clear that the FAA encompasses a wider range of
                                                          that i


See also, Chesapeake Appalachia, L.L.C. v. Ostroski, 199 F.Supp.3d 912 (M.D. Pa. 2016).


       In the instant matter, interstate commerce is evidenced by the following:


                (a)       the parties are citizens of different States;


                (b)       the parties hereto are equal Members of the company at issue in the

arbitration   Concorde       and Petitioner operates, on behalf of Concorde, out of New York City,

and Respondent operates, on behalf of Concorde, out of Scranton, Pennsylvania; and
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                (c)

     garments throughout the United States                   Operating Agreement (which contains

the arbitration provision upon which the Arbitration was conducted) provides for the importation

and sale

             operating in Pennsylvania.


       Hence, there is an agreement between two parties of different States, to undertake a

business involved in interstate commerce

           throughout the United States. Jurisdiction is therefore proper in this Court, as is venue,

since Respondent is located in Scranton, PA.


                                             POINT II

                                    STANDARD OF REVIEW


       In accordance with Section 9 of the                                      an arbitration award

can only be vacated, modified or corrected as set forth in Sections 10 or 11 of the FAA. If those




       Section 10 of the FAA reads, in pertinent part, as follows:

       (a)    In any of the following cases the United States court in and for the district
       wherein the award was made may make an order vacating the award upon the
       application of any party to the arbitration

                (1)     where the award was procured by corruption, fraud, or undue means;

               (2)     where there was evident partiality or corruption in the arbitrators, or
       either of them;

               (3)    where the arbitrators were guilty of misconduct in refusing to
       postpone the hearing, upon sufficient cause shown, or in refusing to hear evidence
       pertinent and material to the controversy; or of any other misbehavior by which the
       rights of any party have been prejudiced; or
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              (4)    where the arbitrators exceeded their powers, or so imperfectly
       executed them that a mutual, final, and definite award upon the subject matter
       submitted was not made.

Section 11 of the FAA reads as follows:

       In either of the following cases the United States court in and for the district wherein
       the award was made may make an order modifying or correcting the award upon
       the application of any party to the arbitration

               (a)    Where there was an evident material miscalculation of figures or an
       evident material mistake in the description of any person, thing, or property referred
       to in the award.

              (b)     Where the arbitrators have awarded upon a matter not submitted to
       them, unless it is a matter not affecting the merits of the decision upon the matter
       submitted.

               (c)     Where the award is imperfect in matter of form not affecting the
       merits of the controversy.

               The order may modify and correct the award, so as to effect the intent
       thereof and promote justice between the parties.



       Under the FAA, the court begins with the presumption that the arbitration award is



              award. Sutter v. Oxford Health Plans LLC, 675 F.3d 215, 219 (3d Cir.

       agree to resolve their disputes before an arbitrator without involving the courts, the courts

will enforce the bargains implicit in such agreements by enforcing arbitration awards absent a

reason to doubt the authority or inte                                  at 219. The Sutter court also

                                                                  and enforce a contract. When he

makes a good faith attempt to do so, even serious errors of law or fact will not subject his award

to vacatur.       at 220. See also, Merrill Lynch, Pierce, Fenner & Smith Inc. v. Milnes, 2014 WL

1386321 (E.D. Pa., April 8, 2014). As set forth in Merrill Lynch, supra at *2:
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             role of the court is not to correct factual or legal errors made by an arbitrator.


                                                                               only if there is

         (citations omitted).


See also, Handley v. Chase Bank USA NA, 2010 WL 2780964, at *2 (3d Cir., July 15, 2010)

party seeking to overturn an award bears a heavy burden, as these are                             narrow

circumstances,             v. Strasberg, 321 F.3d 365, 370 (3d Cir. 2003), and courts accord

arbitration decisions exceptional deference.      Hall Street Associates L.L.C. v. Mattel, Inc., 552

U.S. 576, 587, 128 S.Ct. 1396, 170 L.Ed.2d 254 (2008)            application for an order confirming

the arbitration award, the court        grant the order           the award is vacated, modified, or

corrected as prescribed in sections 10 and 11 of this title. There is nothing malleable about

grant, which unequivocally tells courts to grant confirmation in all cases, except when one of the

              exceptions applies.                                                  2021 WL 214300,

at*1 (E.D. Pa., January 21, 2021)



    district court to confirm, vacate, or modify the award under a narrow scope of judicial

review                                   Transp. Union Local 1589 v. Suburban Transit Corp., 51

F.3d 376, 379 (3d                      must be absolutely no support at all in the record justifying

the arbitrator determinations for a court to deny enforcement of an award.


         Moreover,      the arbitrator interpretation [of the agreement] can in any rational way be

derived from the agreement, courts must enforce the award.). If the arbitrators award draws its

essence from the agreement, then they did not exceed their powers.                       Inc. v. Reell

Precision Mfg. Corp., 331 Fed. Appx. 925, 928, 2009 WL 1668608 at *3 (3d Cir., June 16, 2009)
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           quotation marks omitted), quoting and citing Mobil Oil Corp. v. Indep. Oil Workers

Union, 679 F.2d 299, 302 (3d Cir. 1982).


         The Southco                             if the Arbitrators erred in their interpretation of the

Agreement, a mere error is not enough to justify vacating the Award. Because the Arbitrators'

decision is based on a reasoned interpretation of the Agreement, we conclude that the decision was

rationally derived from the Agreement, and we will affirm the District Court's judgment

confirming the Award           at *4. See also, France v. Bernstein, 2020 WL 6381454, at *4 (M.D.

Pa.,                                 the parties have agreed to submit their claims to arbitration,

is the arbitrator's view of the facts ... that they have agreed to accept.           omitted)].


         Lastly, even under Pennsylvania law (where the arbitration was deemed to have taken



    party was denied a hearing or that fraud, misconduct, corruption or other irregularity caused the



                                              POINT III

                  THE ARBITRATION AWARD SHOULD BE CONFIRMED


         In the matter at bar, Straight A had commenced the arbitration proceeding (Exhibit 2)

seeking to enforce two sections of the 1994 Concorde Operating Agreement that indicated how

                     profits were to be distributed (see, Sections 9.03 and 9.04 in Exhibit 1).

However, LA asserted in its defense and Answer (Exhibit 3) that the formula set forth in Section


1
  If Pennsylvania law were applicable, the enforcement of the Arbitration Award would be under
the common law arbitration provisions of the Pennsylvania statutes (Pa. C.S.A. §7341), since the
arbitration provision in the Operating Agreement did not specify that any arbitration would be
pursuant to the statutory arbitration provisions of the Pennsylvania Uniform Arbitration Act (see
e.g., 42 Pa. C.S.A. §§7302-7320).
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     of the Operating Agreement

     changed and amended as of 1997, and that for at least 18-20 consecutive years, a different

formula (

   Arbitration Award) had been used by the parties.


       Thus, the parties asked the Arbitrator to determine which formula was applicable to

                                  the years 2018, 2019 and beyond      the                       in

the Operating Agreement, or the         Baseline Formula that the parties had used for 20 years.


       As alleged by Straight A in paragraph 30 of its

            Agreement by, among other things, failing to authorize the Company to distribute the

gross profits of the Company as provided in Sections 9.03 and 9.04 of the Operating Agreement.

To the contrary, however,                                 35)

            that the Profits and Distribution formula was appropriately modified and to apply the

modified formula to determine Profits and Distribution pursuant to same in an accurate




       Hence, the Arbitrator was asked, and had the authority, to determine the proper and

applicable formula between the parties for the distribution of gross profits of their company,

Concorde, for the years 2018, 2019 and beyond.                       the task of an arbitrator is to

interpret and enforce a contract. When he makes a good faith attempt to do so, even serious errors

                                                            supra, 675 F.3d at 219 (3d Cir. 2012).


       In the instant case, the Arbitration Award is far from irrational the Award is 11-pages in

length (single-spaced), thorough, well-reasoned, and in direct response to the relief sought by the

parties in their respective Statement of Claim and Answer. Moreover, the Arbitration Award is
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      on extensive arbitration proceedings in this case. First, the parties exchanged numerous

documents and submitted Pre-Hearing Briefs to the Arbitrator.              The arbitration hearings

themselves spanned three days, with over 700 pages of testimony given by three witnesses, and

some 41 exhibits were introduced therein. And, after the hearings were closed, in response to the

                                                         Briefs.


       Thereafter, on January 5, 2021, the Arbitrator rendered an 11-page, single-spaced Final

Award (in Exhibit 4) (citing testimony and exhibits introduced at the hearings, as well as relevant



                                                                   20-




       In his Final Award, the Arbitrator set forth a                    Statement,



         Contentions,

                                 and documentary evidence. The Arbitrator then came to his

                                            of the Final Award:

               Based upon the foregoing, I find by clear and convincing evidence that the
               parties first amended their Operating Agreement in 1997 by agreeing to
               allocate profits through the New Baseline, rather than through the Waterfall

                          proves an intent by the parties to amend their Operating
               Agreement. The entirety of the evidentiary record proves that the parties
               amended and modified the provisions of the Operating Agreement by
               replacing the Waterfall with the New Baseline, such that the Waterfall no
                                                                                  gross
               operating profits.

And at page 11 of the Final Award, the Arbitrator issued his ultimate finding:

               I find that §9.03 of the Operating Agreement was amended such that the
               New Baseline reflects the manner by which the parties intended to allocate
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                     gross operating profits.

                           My Award, therefore, orders and directs the parties to
                distribute their 2018 and 2019 gross operating profits (and all profits
                subsequent to 2019) pursuant to the New Baseline, i.e., granting the relief

                (emphasis added)


The Arbitration Award is in conformity with the well-recognized principle

  performance is of great significance in interpreting a contract. As the United States Supreme

Court has held:

                Generally speaking, the practical interpretation of a contract by the parties
                to it for any considerable period of time before it comes to be the subject of
                controversy is deemed of great, if not controlling, influence.
Old Colony Trust Co. v. City of Omaha, 230 U.S. 100, 118 (1913) (citations omitted).


       In the arbitration at issue herein, the Arbitrator carefully reviewed the facts, applied the

law, and rendered an extremely detailed and well-reasoned decision and Award. As set forth in

Southco, Inc. v. Reell, supra, 2009 WL 1668608, at *3 (3d Cir. June 16, 2009),        the arbitrator's




       In the matter at bar, the Arbitration Award shows that (a) the Arbitrator had the authority

to issue the Arbitration Award because the parties explicitly asked him to determine the particular

issue that he decided; and (b) not only was there a plausible basis for the Arbitration Award, but

the detailed Arbitration Award sets forth the entire factual and legal basis for it which cannot be

controverted.


       Therefore, there are absolutely no grounds to vacate the Arbitration Award, and the

Arbitration Award must be confirmed.
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       For the reasons set forth herein, and in the accompanying Petition and the Exhibits annexed

thereto, Petitioner, L A Apparel, Inc., a/k/a LA Apparel, Inc., respectfully requests that this Court

grant the instant Petition, and issue an Order as follows:


       (a)      confirming the Arbitration Award, and directing that Judgment be entered thereon;

       (b)      directing Respondent, Straight A, to immediately issue payments, from Concorde



             Apparel Company, L.L.C. in the sum of $505,489.50 for 2018, and the sum of



             with the Arbitration Award.

       (c)      directing Respondent, Straight A, to issue payments from Concorde Apparel



         Company, L.L.C. for 2020, and each year thereafter, to which LA is entitled pursuant to

                                                                   Award; and

       (d)      granting such other and further relief as this Court deems just and proper, together

with the costs and disbursements of this proceeding.

Dated: April 2, 2021
                                              Respectfully submitted,

                                              GILDA L. KRAMER & ASSOCIATES, LLC

                                              By: ____
                                                     Gilda L. Kramer, Esq.
                                              822 Montgomery Avenue, Suite 314
                                              Narberth, PA 19072
                                              215 732-4055
                                              gkramer@gildakramer.com
                                              Attorney for L A Apparel, Inc. a/k/a LA Apparel, Inc.
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OF COUNSEL:

SCHLACTER & ASSOCIATES
450 Seventh Avenue Suite 1308
New York, NY 10123
212-695-2000
jed@schlacterassociates.com

KAUFMAN & SEROTA, P.C.
5 International Drive Suite 110
Rye Brook, NY 10573
212-732-6366
stuart@serotalaw.com
